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Law and Education

Dr. LEONARD W. HOUSTON, Sr.
Juris Doctor of Law, Ph.D., Education

November 23, 2020

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

Attn: Ms. Auntalene E. Queen, Secretary/Judicial Assistant
Honorable REGGIE B. WALTON, United States District Judge
333 Constitution Avenue, N.W.

Washington, D.C. 20001

Re: INTERVENOR - PLAINTIFF'S SUPPLEMENTAL STATEMENT:

Re-submission of Motion for Leave To Intervene as Proposed Intervenor-Plaintiff
and Attachments [Exhibits] pursuant to Rule 24 of the Federal Rules of Civil
Procedure due to “Non-receipt” of original documents by the Court:

Electronic Privacy Information Center, Plaintiff v.

United States Department of Justice, Defendant

U.S. District Court, District of Colombia (Washington, D.C.)
Civil Docket For Case#: 1:19-cv-00810-RBW

 

Dear Ms. Queen:

As stated by the Hon. REGGIE B. WALTON, United States District Judge, and endorsed on
correspondence submitted by Movant/Proposed Interventor-Plaintiff, Leonard W. Houston, to wit:

ECF 134: “Leave to file is granted although the Court never received
hits original motion, dated 10/02/2020.”

Endorsement:: REGGIE B. WALTON
U.S. D. J.

Herewith, submitted the United States Postal Service (“USPS”) Tracking Report, per entitled
Article /Label—U.S. Postal Service CERTIFIED MAIL - RECEIPT with SIGNED RETURN
RECEIPT # 7020 0090 0000 3974 5343, dated November 17, 2020, received by the Clerk of the
United States District Court For the District of Columbia, Washington, D.C. 20001, (“Friday”)
November 20, 2020. Annexed copies of said USPS Tracking Report of package arrival, and Intervenor-

eo s correspond e dated November 17, 2020, and re-submission of documents for filing.
| Ase, cw / AN uh Respectfully submitted,
‘eonard W. Houston, Se

Intervenor Plainti off

cc: ELECTRONIC PRIVACY INFORMATION CENTER
Attn: Plaintiff Attorneys of Record
1519 New Hampshire Avenue, NW, Washington, D.C. 20036

UNITED STATES DEPARTMENT OF JUSTICE
Civil Division, Federal Programs Branch

Atm: Courtney D. Enlow, Trial Attorney

Defendant Attorney of Record

1100 L Street, Room 12102, Washington, D.C. 20005

148 Deer Court Drive m Middletown @ New York 10940-6867
Telephone No. (845) 343-8923 m Fax: (845) 342-3114
E-Mail: lenny.houston@yahoo.com
Case 1:19-cv-00810-RBW Document 147 Filed 12/04/20 Page 2 of 7

HOUSTON & HOUSTON. COPY

Law and Education

Dr. LEONARD W. HOUSTON, Sr.

Juris Doctor of Law, Ph.D., Education
November 17; 2020

The Clerk of the Court

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

333 Constitution Avenue, N.W.
Washington, D.C. 20001

Re: “Re-submission” of Motion For Leave To Intervene as Proposed Intervenor-Plaintiff and
Attachments [Exhibits] as pursuant to Rule 24 of the Federal Rules of Civil Procedure
due to “Non-receipt” of original filed documents by the Court:

ELECTRONIC PRIVACY INFORMATION CENTER, Plaintiff - against
UNITED STATES DEPARTMENT OF JUSTICE, Defendant

USS. District Court, District of Columbia (Washington, D.C.)

Civil Docket For Case #: 1:19-cv-00810-RBW

Dear SIR/MADAM:
The Clerk of the Court

Enclosed, re-submitted Motion for leave to intervene as Proposed Intervenor-Plaintiff in the
‘proceedings, bearing Case Number 19-cv-00810, under captioned case, now pending before this Court.

The required attachments pursuant to Rule 24 of the Federal Rules of Civil Procedure in support of
said Motion with attached Certificate of Service have been served on the respective Attorneys for the
Plaintiff, Electronic Privacy Information Center, and the Defendant, United States Department of Justice
herewith resubmitted for filing to this Court.

As it was noted by Hon. REGGIE B. WALTON, United States District Judge, dated 10/02/2020,
bearing Court Document Number 134:

“Leave to file is granted, although the Court never

ven his original motion.’
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Se ed Sr.
Movant/Proposed I: ntervenor-Plai ntiff

Encls: Motion and Memorandum of Points and Authorities in Support of Motion to Intervene w/
(Proposed) Order [Granting Motion to Intervene}; and
Certificate of Service by Mail on Attorneys of Record (19-cv-00810-RBW); and
Complaint In Intervention (Leonard W. Houston, Sr., Movant/Proposed Intervenor-Plaintiff)

148 Deer Court Drive m Middletown m New York 10940-6867
Telephone No. (845) 343-8923 m Fax: (845) 342-3114
E-Mail: lenny.houston@yahoo.com
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From: auto-reply@usps.com (auto-reply@usps.com)
To: — lenny.houston@yahoo.com

Date: Friday, November 20, 2020, 11:23 AM EST

Hello LEONARD W HOUSTON,

Your item was delivered to the front
desk, reception area, or mail room at
11:19 am on November 20, 2020 in
WASHINGTON, DC 20001.

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Text & Email Updates Vv
Tracking History

November 20, 2020, 11:19 am

Delivered, Front Desk/Reception/Mail Room

WASHINGTON, DC 20001

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November 20, 2020, 7:10 am
Out for Delivery
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November 20, 2020, 1:27 am
Arrived at Unit
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2 of 2

November 19, 2020, 7:43 am
Arrived at USPS Regional Destination Facility
WASHINGTON DC DISTRIBUTION CENTER

November 18, 2020
In Transit to Next Facility

November 17, 2020, 7:38 pm
Arrived at USPS Regional Origin Facitity
JERSEY CITY NJ NETWORK DISTRIBUTION CENTER

November 17, 2020, 5:35 pm
Departed Post Office
MIDDLETOWN, NY 10940

November 17, 2020, 9:00 am
USPS in possession of item
MIDDLETOWN, NY 10940

Product Information

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Go to our FAQs section to find answers to your tracking questions.

FAQs

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